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Case 1:94-cv-00892-JEC-LFG Document 73-1 Filed 10/05/95 Page 1 of 20

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

 

 

CARL WILSON, an individual,
and AUDREE WILSON, an
individual,

a

Case NoJ-CIV..94 892 Jc

Plaintiffs,
DECLARATION OF BARRY B.
LANGBERG IN SUPPORT OF
PLAINTIFFS’ MEMORANDUM IN
OPPOSITION TO HARPERCOLLINS’
MOTION FOR SUMMARY JUDGMENT

Vv.

HARPERCOLLINS PUBLISHERS,
INC., a Delaware corporation,
Defendant.

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I, BARRY B. LANGBERG, declare as follows:

1. I am an attorney at law duly licensed to practice
before the courts of the State of California. I ama partner in
the law firm of Langberg, Cohn & Drooz, formerly known as
Langberg, Leslie & Gabriel, counsel of record for Plaintiffs Carl
Wilson and Audree Wilson in the above captioned matter. I have
personal knowledge of the facts set forth herein, and if called
as a witness, I could and would testify competently thereto.

2. I was the attorney, along with my then colleague, Jody
Leslie, representing Carl Wilson, Audree Wilson, Carnie Wilson
and Wendy Wilson, with respect to the Conservatorship proceeding
involving Brian Wilson in the Los Angeles Superior Court. Audree
Wilson is Brian’s mother, Carl Wilson his brother, and Carnie and
Wendy are his daughters. Our clients were Petitioners requesting
the court to establish a Conservatorship over the person and
estate of Brian Wilson. The purpose of bringing the proceeding

was to free the emotionally disturbed Brian Wilson from the total

 
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Case 1:94-cv-00892-JEC-LFG Document 73-1 Filed 10/05/95 Page 2 of 20

and absolute personal and economic control of Eugene Landy.

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Landy was a defrocked psychologist who had, for years, engaged in
the full time pursuit of controlling Brian Wilson’s life and
profiting therefrom. Landy had voluntarily surrendered his
psychology license in the midst of an investigation by the
Psychology Examining Committee of the Board of Medical Quality
Assurance of the State of California.

3. In preparing our case in the Conservatorship
proceeding, we pursued various avenues of formal discovery and
informal investigation. As a result, I came into possession of a
substantial amount of information which, taken together, painted
a clear and unassailable picture of Eugene Landy’s control over
Brian Wilson. This control extended to having twenty-four hour
"guards" watching Brian, the screening of his telephone calls and
the administering of drugs. Furthermore, Landy had formed
various partnerships between himself and Brian, whereby Landy
owned property with Brian and was receiving substantial monetary
sums. The evidence of the foregoing was irrefutable, and
ultimately resulted in the attorneys for Brian Wilson agreeing to
enter into a settlement agreement in the Conservatorship
proceeding. The settlement agreement included the court-enforced
severing of Landy’s relationship with Brian and the unwinding of
various business deals between Landy and Brian Wilson. In
addition, the court appointed a Conservator for Brian (Jerome
Billet) and a medical-psychological team was established to work
with Brian. It is important to note that the evidence
(especially the report of Dr. Garrett O’Connor) of Landy’s

control over virtually every aspect of Brian’s daily life and

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Brian’s emotional disturbance was irrefutable and led to the
settlement agreement.

4. On August 8, 1991, having obtained information about
the forthcoming publication of a purported autobiography of Brian
Wilson by HarperCollins, I wrote the publisher a letter, a copy
of which is attached hereto marked Exhibit "A" and incorporated
herein by reference. The purpose of the letter was to advise
HarperCollins that Brian did not have the capacity to enter into
a contract for the publication of a book or provide accurate
information for that book. It was clear to me that Eugene Landy
was using the book for his own purposes, both financial and
professional. I had information that, over the years, Landy had
made a number of statements about Carl Wilson and Audree Wilson
that were false and defamatory. I was certain that Landy would
take the opportunity to insert those statements in the purported
autobiography of Brian Wilson. Therefore, I had received
permission from my clients to contact HarperCollins and provide
them with all of the information at my disposal that would show
the truth. Unfortunately, no representative of HarperCollins
ever accepted my offer to provide information and assist in
investigation.

5. At the time of my letter to HarperCollins, the
Conservatorship proceeding had not yet been settled. Asa
result, the confidentiality order that ultimately became part of
the final Conservatorship settlement and order was not yet in
place. At the time of my letter, I was free to provide
HarperCollins with the considerable amount of information I had

gathered showing the fact that Brian Wilson was under the control

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of Landy, that many of the statements in the book about Carl

Wilson and Audree Wilson were Landy’s statements, not Brian’s,

and that those statements were false.

6. If HarperCollins would have been interested in the

truth, I would have provided them with the following:

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A. An interview with Carl Wilson and Audree Wilson.
Representatives of HarperCollins would have been given full
opportunity to question Carl Wilson and Audree Wilson about
the statements in the book and obtain facts that would have
led to additional witnesses and information.

B. Information from Dr. Garrett O’Connor. Dr.
Oo’connor is a highly respected psychiatrist in Los Angeles.
During the course of the Conservatorship proceeding, the
parties had agreed to a ninety day separation between Brian
Wilson and Eugene Landy. Dr. O’Connor had been employed to
provide psychological evaluation and treatment for Brian
during that ninety day period. In addition, Dr. O’Connor
was to provide a report evaluating Brian Wilson’s mental
competence pursuant to the Guardianship and Conservatorship
proceedings of the California Probate Code. In particular,
Dr. O’Connor was to render an opinion with respect to Eugene
Landy’s undue influence over Brian Wilson. Dr. O’Connor saw
Brian Wilson for a total of twenty-nine clinical interviews,
and also conducted interviews of various family members and
professional associates of Brian Wilson. He also conducted
neuropsychological testing of Brian Wilson.

Dr. O’Connor concluded that Brian Wilson was

suffering from organic personality syndrome and possibly

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schizophrenia and bi-polar disorder and/or post traumatic
stress disorder.

Dr. O’Connor stated to me that he believed
Brian Wilson was subject to the undue influence of
Eugene Landy. Dr. O’Connor said he was using the term
"undue influence" to refer to a situation where a
therapist uses his position to dominate the will and
manipulate the behavior of a patient for improper
purposes.

Dr. O’Connor told me that he wanted to
compare the manuscript of the forthcoming autobiography
with what Mr. Wilson had to say during sessions with
Dr. O'Connor. In an effort to obtain a copy of the
manuscript, after Mr. Wilson had provided HarperCollins
with written consent, Dr. O’Connor spoke with Senior
Editor Tom Miller of HarperCollins and explained the
purpose of the request. No copy of the manuscript was
sent to Dr. O’Connor. Dr. O’Connor then sought to
obtain a copy of the Book through the efforts of one of
Mr. Wilson’s attorneys, Mr. Engel. Engel was
apparently successful in having a copy of the
Manuscript mailed to Mr. Wilson in care of his office
at the partnership Brains and Genius (a partnership
with Landy). However, although information was
obtained that the Book had been delivered to the
offices, it had disappeared. It was learned that
Eugene Landy had removed the manuscript from the

office. I would have explained to representatives of

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HarperCollins that this event was indicative of Landy’s
control of Brian Wilson and showed, specifically with
respect to their forthcoming book, that Landy was bent
on keeping anyone who would know the truth from reading
the manuscript.

I was also informed by Dr. O’Connor that
Brian told him there was an effort by Landy to prevent
Brian from reading the manuscript and that Landy
controlled the content of the Book.

On several occasions, Dr. O’Connor was told
by Brian that he was afraid of being murdered by Landy.
On another occasion Brian told Dr. O’Connor that his
mind and behavior were controlled by Landy and
described it as being similar to "the presence of the
Lord."

Dr. O’Connor also provided information
concerning the multitude of medications being
administered to Brian Wilson from Landy’s associate,
Dr. Samuels. This medication included Eskalith,
Serontil, Xanax, Navane, Halcion, and Cogentin. Dr.
O’Connor indicated that these drugs had a significant
effect on Brian Wilson’s mental processes. Dr.
O’Connor was told by Brian Wilson that he heard "alien
voices," including the voice of the devil which he
described as being "somewhat like a stream of ticker
tape information which entered his ear to imprint
instructions on the surface of his brain." On another

occasion Brian Wilson told Dr. O’Connor that he had

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been killed twenty years ago in the hallway of his

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house on Bellagio Drive by a woman who had "zapped his
brain with a bolt of black color" which flowed directly
from her forehead to his, and exploded his mind.

Dr. O’Connor concluded that Brian Wilson was
not competent under current guardianship and
Conservatorship provisions of the Probate Code of
California and was not able to manage his own affairs.
He also concluded that Landy had exerted undue
influence over Brian Wilson in order to exploit Brian
Wilson’s psychiatric disorder and his reputation as a
musician for personal, professional, and financial
gain.

Dr. O’Connor also described Landy’s
techniques, administered to Brian Wilson since 1983,
which included a totalitarian treatment approach
resembling techniques used by cults to achieve mind
control and domination.

At the time I wrote my August 8, 1991 letter
to HarperCollins, Dr. O’Connor had concluded most of
his evaluation of Brian and had provided me with the
foregoing information. Subsequently, Dr. O’Connor
prepared a written report which I would have provided
to HarperCollins.

Cc. Various statements, taken under oath, of
individuals who had contact with Brian Wilson prior to
the institution of the Conservatorship proceeding.

These statements (Statement of Patric Roarty, March 27,

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Case 1:94-cv-00892-JEC-LFG Document 73-1 Filed 10/05/95 Page 8 of 20

1990; Melinda Ledbetter, March 27, 1990; David Leaf,

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March 27, 1990) all contained clear evidence of Landy’s
control of Brian Wilson and evidence of Brian Wilson’s
mental incapacity.

D. The deposition of Carl Wilson taken on
October 15, 1990 and November 27, 1990. This
deposition contained substantial information with
respect to the family history of Brian Wilson and the
mental condition of Brian Wilson. Review of this
deposition transcript, combined with an interview of
Carl and Audree Wilson, would have provided
HarperCollins with substantial information
contradicting the statements made in the manuscript
purportedly by Brian Wilson but actually by Eugene
Landy.

E. Information concerning the writings and
psychological beliefs of Eugene Landy. It is clear
when reading Landy’s written work that he has a point
of view that is supported by discrediting Brian
Wilson’s family and attributing actions to his brother
and mother which would validate Landy’s diagnosis and
methods. I had received information from various
sources that Landy had, over the years, made a number
of false statements about Brian Wilson’s family,
including his brother Carl and his mother Audree. I
would have assisted HarperCollins’ representatives in
establishing that these false statements had previously

been made by Landy and I would have assisted them in

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Case 1:94-cv-00892-JEC-LFG Document 73-1 Filed 10/05/95 Page 9 of 20

obtaining information from family and friends

establishing the falsity of those statements.

Unfortunately, some of the specific false statements

about which I was concerned were the very same

statements that later appeared in HarperCollins’

published book.

7. Subsequent to the publication of the Book by
HarperCollins, my partner Deborah Drooz and I made substantial
efforts to obtain a correction and apology from HarperCollins.
Finally, after the Conservatorship proceeding had terminated in
the establishment of a court ordered Conservator and the court
enforced termination of the relationship between Brian Wilson and
Eugene Landy, HarperCollins realized the import of what I was
trying to communicate in my August 8, 1991 letter. At last
HarperCollins considered taking some steps to ameliorate the
terrible damage that had been done to Carl Wilson and Audree
Wilson. However, after long negotiations, HarperCollins declined
to ever print any form of retraction or correction even after I
explained to them that my clients did not want to file a lawsuit
and would not file a lawsuit if they would only publish a
correction and retraction.

Executed on September 26, 1995, at Los Angeles,
California. I declare under penalty of perjury, under the laws of
the United States of America, that the foregoing is true and

correct.

 

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BABRY BY” EXNGBERG ™,

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Case 1:94-cv-00892-JEC-LFG Document 73-1 Filed 10/05/95 Page 11 of 20

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LAW OFF: cas
BARRY B. LANGBERG & ASSOCIATES
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OF Couns.
+ WILLLAM HAVES
2049 CENTURY PARK EAET

Sulre 3030
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SARAY 2, LANGEERG Los ANGELES. CALIFORNIA 900e7 a
(2t3)2a6-7717 (hese eA
August 8, 1991 .

Mr. Tom Miller, Editor
HarperCollins Publishers
10 East 53 Street

New York, NY 10022

Dear Mr. Miller:

We represent Carl Wilson, Audree Wilaon, Carnie Wilson and:
Wendy Wilson (the brother, the mother, and daughters of Brian —
Wilson) in the conservatorship proceeding in Log Angeles County «
California entitled In The Matter of Petition for the
Conservatorship of Brian Wilson, Los Angeles Superior Court Case
Number SP000008.

It has come to the attention of our clients that you intend
to publish a book that is apparently an autobiography of Brian
Wilson. Although we have not had an opportunity to review a
manuscript of the book, we understand that there are numerous and
substantial references to our clients, sone of Which may be
defamatory.

Furthermore, allegations in the pending conservatorship
proceeding seriously question the capacity of Brian Wilson to
enter into a valid contract with you granting rights to publish
the book. fn addition, it has become apparent during the
progress of the conservatorship proceeding that Brian Wilson may
well be subject to the undue influence of Eugene Landy. We

Of course, the existence of the conservatorship proceeding
is a matter of public record. 30 too are the allegations
concerning the undue influence of Mr, Landy on Brian Wilson.
Therefore, you had actual and constructive knowledge of the
issues that I have raised in this letter. Your publication of
the book could result in serious harm and damage to both Brian
and his family. 1 would suggest that prior to publication you

HC 00752

 
 

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LAW OFFICES

BARRY B, LANGBERG & ASSOCIATES

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My. Tom Miller, Editor
August &, 1991
Page 2

determine the veracity of the statements made in the book and the
validity of the contract giving you the rights to publish the
book

My clients, the family of Brian Wilson, will be happy to
cooperate with you in any effort to investigate these natters.
The fact is that it is very likely that much of the material in
the book is not statements by Brian Wilson but instead defamatory
accounts of events by Eugene Landy.

Please understand that in the event you recklessly publish
this book we intend to pursue all legal remedies.

Yours very truly,

BARRY B
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@ SUPERIOR COURT OF CALIFORN
Date -- SEPTEMBER 11,1995

HONORABLE DAVID M. ROTHMAN JUDGE |g TAPANES
HONORABLE Judge Pro Tem Deputy C
R KENWORTHY Deputy Sheriff CARDENAS Repe

Court Attendant Electronic Recording Mor

 

 

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SPOOO Counsel for (Parties and counsel checked if p
Con servatouship etn of the ¥KXHHK CARL WILSON & AUDREE WILSON, MOVING

PARTIES: BARRYB LANGBERG & ASSOC.
BRIAN D. WILSON Counsel for BY: BETH F. DUMAS (X)
CONSERVATOR:PAUL, HASTINGS, JANOFSKY
& WALKER BY: SUZANNE E. RANDOLPH (X),
MELINDA WILSON (X) SYLVIA M. VIRSIK (X)

 

 

NATURE OF PROCEEDINGSworton BY CARL & AUDREE WILSON FOR MODIFICATION OF COURT'S
CONFIDENTIALITY ORDER

Matter is called for hearing and argued.

Motion of Carl and Audree Wilson to release 4 documents that are to be used in
the New Mexico Libel proceedings, in the United State Federal District Court,
case number: 94CIV 892 JC, is ruled on as follows:

1. The psychological and chemical evaluation report by Dr. Garret O!Connor,
' of 10-04-91 may be used by the Moving Party in the New Mexico litigation
“under seal, because the Court is informed that said document has already
‘been referred to in litigation by other parties, and appears to be in
the possession of the other parties. -

2. As to all other requests, the motion is flenied.

<3. The Court finds that the order re; sealing of 2-3-92 in this case does
not prevent any witness in the Conservatorship proceeding from giving
testimony: or providing: declarations ‘in other proceedings.

.i4, This is not a finding by the Court as to the contents or requirements
contained in the settlement agreement of the Conservatorship. The
Court makes no finding that the contents or requirements of the
settlement agreement in this case allow any party or counsel to
testify or make any declarations of this case in other court proceedings.

The minute order of 2=3-92 and the minute order of today are ordered unsealed.
The taped proceedings of this date are ordered sealed. The Court allows

a transcript of this proceeding to be prepared for the Law Offices of

Barry B. Langberg and Associates.

The lodged documents are returned to the Moving Party in open court.

  

 

  

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Case 1:94-cv-00892-JEC-LFG Document 73-1 Filed 10/05/95 Page 15 of'20

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SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

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DATE FEBRUARY 3, 1992
HONORABLE HIROSHI FUJISAKI JUDGE P. PAPPAS DEPUTY CLERK
HONORABLE JUDGE PRO TEM
V. McKNOWN Deputy Sheriff D. MRAZ Reporter E/A monitor
ween Court Attendant (Parties and counsel chacked if present)
SP000008 ** MILLER, EW EWALD, MONSON, HOSZAW
IN THE MATTER OF THE PETITION Pet{tioner & SCHECH
By: thonae M. Monson

FOR CONSERVATORSHIP OF:

 

 

Y for KINSELLA, BOESCH, FUJIKAWA & TOWLE
BRIAN WILSON Res oh k By: Gregory J. Aldisert ’
Counsel for BARRY B. LANGBERG Y
Goungel for By: Jody R. Leslie
Dennis M. Warren —
om
Conservator Jerome 8. Billec a
NATURE OF PROCEEDINGS PETITION FOR APPOINTMENT OF. CONSERVATOR ”
Matter is called for hearing.
In chambere, with the Clerk and Court Reporter present, certain

proceedings are held regarding jurisdiction, the. proposed conserva-
tor, confidentiality, and various documents that have been filed
and modification of the proposed order appointing conservator.

The Court states that the Court will’ consider. a supplemental“or
additional voluntary request by the proposed conservatee for appoint=-
ment of conservator to be an exception under 1826(0) of the Probate
Code and that che Court can dispense with a court investigative

reporc.

The Court finds that the petitioners Audrey Wilson, Carnie Wilson,
Wendy Wilson, Carle Wilson and Stanley Love have consented to the
jurisdiction of this Court by filing the petition for appointment

of conservator and that Dr. Eugene Landy, Kévin Leslie, and Brian
Wilgon will orally consent to the jurisdiction of this Court to issue
the conservatorship order and the restraining order.

The Court has read and considered the points and authorities that
have been submitted by counsel and finds the considerations sre
compelling, that is, the conservatee! s health and well-being
outweight the public's interest .in the details pt the settlement |

and order.

 

The Court orders the file and the orders that the Court is entering
with regards to the newly filed restraining order-and the order
appointing the probate conservator sealed for the following reasons:
That the purpose of the entira proceeding {8 to protect the health,
both mental and physical of the proposed conservatee, as well as his
estate, and in order to insure that the proposed conservatee's
continued health is safeguarded._ That it would be in the best
interest of the proposed conservatee that the provisfons of the order

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Page 1 of 5 Pages

 
 

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SUPERIOK COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

DEPT, WE-K

FEBRUARY 3,

DATE 1992
HONORABLE HIROSHI FUJISAKI JUDGE P. PAPPAS _ veputy curr
HONORABLE * "JUDGE PRO TEM

V. McKNOWN +, D. MRAZ

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’ Deputy Sheriff Reporter E/R monitor

. Court Altendant , (Parties anc counsel checked if present)
SP000008 Bae MLLER EWALD, MONSON, HOSHAW =
IN THE MATTER OF THE PETITION Pet ie & SCHECHTER H 7
FOR CONSERVATORSHIP OF; y: Thomas M. Monson

for KINSELLA, BOESCH, EUSTRAWA A TOWLE

BRIAN WILSON ~ nosh By: Gregory J. Aldisert
Counse for BARRY 8. LANGBERG
By: Jody R, Leslie”

Gbiectors
otnsel for
Dr. Land Déennia M. Warren

 RRWURE OP GROGEE RAE SSS ee
Conservator Jetome 8. Billet ~~ propria Perens”
NATURE OF PROCEEDINGS PETITION FOR APPOINTMENT OF CONSERVATOR

" and settlement not be a matter of public disclosure, as a Public
disclosure in the Court's opinion would be harmful to the

     

 

 

Proposed conservatee's health both because of its immediate

effect on hin personally,
Chet jt may have upon his

and secondarily, through the effaec
career and public image.

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vatee'’s health and weli-
his health and well-bein

l and parties provide forthwith
information

The Court orders that all counse
whatever is Necesseryby means of
conservator for
made immediately

and contant
signature and filing under seal.

IN OPEN COURT:
Counsel for the proposed conservatee orally moves the Court to amend tha

answer to voluntary consent to a conservatorship over the person and estate
of the proposed conservates.

Brian Wilson, Eugene Landy, and Kevin Leslie are swom and testify.

proposed conservatee that the effect of the conservator~

control of his assets and his person within the super~
and that the nature of the

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The Court informs the

 

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(REV. {2-90} 12-90
 

SUPERIOn COURT OF CALIFORNIA, COUNTY OF LOS-ANGELES DEPT, w:_,
DATE FEBRUARY 3, 1992
HONORABLE HIROSHI FUJISAKI JUDGE P. PAPPAS DEPUTY CLERK
HONORABLE * JUOGE PRO TEM

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Vv ° McKNOWN f . Deputy Sheriff D < MRAZ . Reporter E/A monitor

, sO Court Attendant (Parties and counsel checked if preesng
SP000008 my (MILLER, EWALD, MONSON HOSHAW =
IN THE MATTER OF THE PETITION reefibhee | SCHECHTER 7
FOR CONSERVATORSHIP OF: yt Thomas M. Monson

oe (REV. 12-80) 12-69 PR nee nt eos

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VY KINSELLA, BOESCH, FUJIKAWA 4 TOWLE
BRIAN WILSON Respondent Sy: Gregory J. Aldigert “ °
Counsel for BARRY B. LANGBERG Y

lb 3 . i
oussel for By: Jody R. Leslie
Dr. Land Dennis M. Warren
ounda

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Conservator Jetome S$. Biller .~
NATURE OF PROCEEDINGS PETITION FOR APPOINTMENT OF CONSERVATOR
The Court inquires. of the proposed conservatee if anyone used
any form of coercion, emotionally, psychologically or any other

way, to force the proposed conservatee to agree to treat this
Matter as a voluntary petition for conservatorship.

 
 

     

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The proposed conservatee indicates his understanding of the
effect of the conservatorship and that no one has used any

answer to voluntary consent to conservatorship of person and
estate is granted.

At the request and with the consent of the proposed conserva~
tes, matter proceeds ag a voluntary petition for conservator=

ship.

The Court inquires of Kevin Leslie, Brian Wilson,- and Dr.

Eugene Landy as follows: .

Whether their signatures are affixed to the settlement agree-
ment and whether they have discussed the nature of the settle-
ment agreement with their counsel, including the exhibits,
petition and proposed orders.

Whether they understand the settlement agreement, their consent.
to the jurisdiction of the Court, the implications of the
settlement agreement, the consequences of violation of the Court
order, and whether they belteve that entering into the settle-
ment agreement’is in their best interest. .

 

Brian Wilson, Dr. Eugene Landy, and Kevin Leslie respond in
the affirmative to the Court's inguiries.

The Court further inquires of Brian Wilson, Dr. Eugene Landy

 

Page 3 of 5 P ages MINUTES ENTERED
2/3/92
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ct SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS XNGELES DEPT. .:-,

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DATE FEBRUARY 3, 1992
HONORABLE HIROSHI FUJISAKI JUDGE P. PAPPAS OEPUTY CLEAK

HONORABLE ’ JUDGE PRO TEM
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Ve MCKNOWN Oeputy Sheritf ; -D. MRAZ Reporter &/R monitor
a ‘ Court Attendant . (Parties and counsel checked if present)

SP000008 - MILLER, EWALD MONSON, HOSLAW

IN THE MATTER OF TRE PETITION ck & SCHECHTER ' 7

FOR CONSERVATORSHIP OF; By! Thomas M. Moneon

itt KINSELLA, BOESCH, PUSIKAWA & TOWLE
Res ent Byr Gregory J. Aldisert .
Counsel for BARRY B. LANGBERG 4
Cbjectpre. Yi Jody. R. Leslie

Dr. Landy Dénnis M. Warren —

ounsel for
: Conservator Jetome Ss. Billet ~~
NATURE OF PROCEEDINGS PETITION FOR APPOINTMENT OF CONSERVATOR

BRIAN WILSON

  

 

 

 

with regards to thig Proceeding freely and voluntarily and
not because of-any threats or uge of force, directly or
indirectly, against them, their..family or loved ones, friends
or relatives, or made any promises to them except those that
are set forth in the settlement agreement.

Brian Wilson, Dr. Eugene Landy, and Kevin Leslie respond in
the af€irmativeto the Court's inquiries.

Conservatorship of Brian Wilson is granted. The Court finds
it to be a voluntary conservatorship.

Robert Fainer, Judge retired, is appointed conservator of
person and estate with powers under Sections 1873, 2402,
2358, and 2590 of the Probate Code,

Petition fr injunction prohibiting harassment granted. Brian
Wilson and Dr. Eugene Landy are Mutually restrained ‘pursuant
to stipulation and mutual restraining order Prohibiting harase
sment signed by the Court and filed this date. ,

 

The restraining order signed by the Court on December 13, 1991
is ordered to remain in full force and effect as of January 1,
1992 and continuing thereafter during the period of the
conservatorship.

All documents in the instant case, #8P000008, int¢luding the
petition filed this date relating to harasement and the order,
case #S5 002629, are Ordered sealed. The settlement agreement
of the parties is ordered filed under seal.

All parties are Ordered not to tTelease any of the contents of
Said documents without prior order of the Court.
MINUTES ENTERED |
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on SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS-ANGELES DEPT. we-,
OATE FEBRUARY 3, 1992 ,
HONORABLE HIROSHI FUJISAKI JUDGE P. PAPPAS  ceputy cLenx
HONORABLE " ’ JUDGE PRO TEM —_—

V. McKNOWN  /4 Deputy Sheri D. MRAZ

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Reporter E/R monitor
Court Attendant

(Partles and counsel checked f present)
SP000008° MILLER, EWALD, MONSON, HOST AW
IN THE MATTER OF THE PETITION a he & SCHECHTER -

FOR CONSERVATORSHIP OF: By: Thomas M. Monson

    

     

 

 

Y for KINSELLA, BOESCH, FUJIKAWA £ TOWLE
BRIAN WILSON Res by: ‘Gregory J. -‘Aldisert .

Counsel for BARRY B. LANGBERG
Rbjectorg  Byt Jody R. Leslie”
oUnsel for

mee Dr. Landy Dennia M. Warren

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" va : Conservator’. ‘Jetome 8. Biller "A

 

 

NATURE OF PROCEEDINGS PETITION FOR APPOINTMENT OF CONSERVATOR

The Court orders the bills for legal services rendered to
the conservatee and the petitioners to be submitted to the

conservator who in turn will submit same to the Court for
specific approval. ,

The Court reserves jurisdiction to en
conditions of the settlement agreemen
orders as the Court deems appropriate

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